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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-83 GEB

12                                Plaintiff,             ORDER SEALING EXHIBIT A AS SET FORTH IN
                                                         GOVERNMENT’S NOTICE
13                          v.

14   RUSLAN KIRILYUK,

15                                Defendant.

16

17          Pursuant to Local Rule 141(b) and based upon the representations contained in the government’s

18 Request to Seal, IT IS HEREBY ORDERED that the government’s Exhibit A to its motion for in

19 camera inspection and approval of proposed redactions, as well as its Request to Seal, shall be SEALED

20 until further order of this Court.

21          It is further ordered that access to the sealed documents shall be limited to the government for

22 the reasons set forth in the government’s Request to Seal.

23          The Court has considered the factors set forth in Oregonian Publ’g Co. v. United States Dist.

24 Court, 920 F.2d 1462 (9th Cir. 1990), and progeny. The Court finds that, for the reasons stated in the

25 government’s Request to Seal, sealing is appropriate here for two reasons: first, the public does not

26 have a presumptive right of access to the discovery in Exhibit A, and, second, even if the public had a
27 presumptive right of access to this subject matter, sealing Exhibit A and the government’s Request to

28 Seal serves compelling interests. The Court further finds that, in the absence of closure, the compelling


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
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 1 interests identified by the government would be harmed. Finally, the Court further finds that there are

 2 no additional alternatives to sealing the government’s Exhibit A that would adequately protect the

 3 compelling interests identified by the government.

 4          Dated: February 20, 2019

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET         2
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